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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

City Of Chicago
                            Plaintiff,
v.                                                Case No.: 1:19−cv−04547
                                                  Honorable Virginia M. Kendall
Jussie Smollett
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 13, 2022:


         MINUTE entry before the Honorable Virginia M. Kendall. On the Court's own
Motion, Teleconference Status hearing set for 1/19/2022 is reset for 2/16/2022 at 9:45
AM. Prior to the conference call, you are directed to click on this hyper link:
https://teleconference.uc.att.com/ecm/?bp=40444321 70&mac=2413900.; Once you are
on Judge Kendall's teleconference page, you are directed to join the conference as A
GUEST. It is imperative that you ENTER YOUR NAME and click on the CALL ME
option. Fill in your phone number (no hypens) and NAME. You are directed to use the
CALL ME option because your name will appear for the Judge and the Court Reporter
and they will better be able to discern who is speaking. If you do not have access to a
computer Dial: (877)848−7030, the access code is: 2413900#. Given the increased
volume of users that is anticipated, you are directed to mute your phone until your case is
called. In spite of using the CALL ME option please also remember to SAY YOUR
NAME EACH TIME YOU SPEAK so that the record of the proceedings is accurate. You
are directed not to use the speaker phone function and to test the sound quality of your
listening and speaking device in advance. If you experience an issue being heard or
hearing, please log off and either call in or log back in.The Court prefers that you use the
procedure that requires that the system calls your phone and you enter your name so that
the Court and the Court reporter can see who is speaking during the hearing. Mailed
notice(lk, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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refer to it for additional information.

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